      Case 16-51842-crm           Doc 33 Filed 09/06/16 Entered 09/06/16 12:28:53                       Desc Debtor
                                       Failed to Comply - 13 Page 1 of 1

                                      UNITED STATES BANKRUPTCY COURT

                                               Northern District of Georgia


In Re: Debtor(s)
       Donald Lee Dennis                                       Case No.: 16−51842−crm
       2900 Land Run Drive #184                                Chapter: 13
       Atlanta, GA 30311                                       Judge: C. Ray Mullins

        xxx−xx−8855




                                                ORDER OF DISMISSAL



The Chapter 13 Trustee reports that the Debtor(s) has failed to comply with the direction of the Court. Therefore,

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within fourteen
(14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                               C. Ray Mullins
                                                               United States Bankruptcy Judge

Dated: September 6, 2016


Form 157
